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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                                    )
                                                           )   CASE NO. 19-63224-LRC
 KORNODE JEAN COOK,                                        )
                                                           )   CHAPTER 13
          Debtor.                                          )

                       POST-CONFIRMATION MODIFICATION OF PLAN
                              AND REQUEST FOR APPROVAL

       Debtor proposes to modify the confirmed Chapter 13 plan in this case as set forth below
and requests that this modification be approved.

                                         MODIFICATION OF PLAN

       The Debtor needs to modify her plan due to a change in financial circumstances. Debtor
has been furloughed from work as a result of the COVID-19 pandemic.

     Debtor hereby modifies the Chapter 13 Plan, which was confirmed by order of this Court
December 18, 2019, as follows.

         Section 2.1 of the plan is modified to delete:

The debtor(s) will pay $950.00 per month for the applicable commitment period. If the applicable commitment
period is 36 months, additional Regular Payments will be made to the extent necessary to make the payments to
creditors specified in this plan, not to exceed 60 months unless the Bankruptcy Court orders otherwise. If all allowed
claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable commitment period, no
further Regular Payments will be made.


         Section 2.1 of the plan is modified to add:
The debtor(s) will pay $510.00 per month for the applicable commitment period. If the applicable commitment
period is 36 months, additional Regular Payments will be made to the extent necessary to make the payments to
creditors specified in this plan, not to exceed 60 months unless the Bankruptcy Court orders otherwise. If all allowed
claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable commitment period, no
further Regular Payments will be made.


      Section 8.1 of the plan is modified to add:
Pursuant to the CARES Act, Debtor's plan is extended sixty-nine (69) more months from October 2020.
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Dated: October 6, 2020                          /s/
                                          Kornode J. Cook

                                                 /s/
                                          Janel O. Bowles
                                          GA Bar No. 071880
                                          Attorney for the Debtor
                                          BERRY & ASSOCIATES
                                          2751 Buford Highway, Suite 600
                                          Atlanta, GA 30324
                                          (404) 235-3300
                                          jbowles@mattberry.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                           )
                                                  )   CASE NO. 19-63224-LRC
 KORNODE JEAN COOK,                               )
                                                  )   CHAPTER 13
          Debtor.                                 )

           NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN,
               DEADLINE FOR FILING WRITTEN OBJECTIONS AND
            HEARING DATE AND TIME IF OBJECTION IS TIMELY FILED

       To: Creditors and Other Parties in Interest

        PLEASE TAKE NOTICE that Debtor has filed a proposed modification to the
confirmed plan in this case, a copy of which modifications you are receiving with this Notice of
have recently received by mail. Pursuant to Rule 3015(g) of the Federal Rules of Bankruptcy
Procedure, any creditor or other party in interest opposing this proposed Modification must file
that objection in writing with the Court on or before the following deadline.

        DEADLINE FOR FILING OBJECTION: Twenty-four (24) days after the date on
which this proposed Modification was filed. The proposed modification was filed on October 6,
2020. If the twenty-fourth day after the date of filing falls on a week-end or holiday, the deadline
is extended to the next business day.

       PLACE OF FILING:               Clerk, United States Bankruptcy Court
                                      Room 1340 United States Courthouse
                                      Richard B. Russell Building
                                      75 Ted Turner Dr., SW
                                      Atlanta, Georgia 30303-3367

If you mail an objection to the Court for filing, you must mail it early enough so the Court will
receive it on or before the deadline stated above.

You must also serve a copy on the undersigned at the address stated below and on the Debtor at:

                                         Kornode J. Cook
                                        3870 Trotters Run
                                      Douglasville GA 30135
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        PLEASE TAKE FURTHER NOTICE that if an objection to the proposed Modification
is timely filed, the Court will hold a hearing on the modification on November 10, 2020, at
10:00 am in Courtroom 1204, U.S. Courthouse, 75 Ted Turner Dr., Atlanta, Georgia. If no
objection is timely filed, the Court may approve the proposed modification without further
notice or hearing.

***Given the current public health crisis, hearings may be telephonic only. Please check
the “Important Information Regarding Court Operations During COVID-19 Outbreak”
tab at the top of the GANB Website (www.ganb.uscourts.gov) prior to the hearing for
instructions on whether to appear in person or by phone.



Dated: October 6, 2020                          /s/
                                          Kornode J. Cook

                                                 /s/
                                          Janel O. Bowles
                                          GA Bar No. 071880
                                          Attorney for the Debtor
                                          BERRY & ASSOCIATES
                                          2751 Buford Highway, Suite 600
                                          Atlanta, GA 30324
                                          (404) 235-3300
                                          jbowles@mattberry.com
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                                 CERTIFICATE OF SERVICE

        This is to certify under penalty of perjury that I am over the age of 18 and that on this day
I served the following parties with a copy of the attached pleadings by placing true copies of same
in the United States Mail with adequate postage affixed to ensure delivery, addressed to:

                                        Melissa J. Davey
                                       Chapter 13 Trustee
                                  260 Peachtree Street, Suite 200
                                        Atlanta GA 30303

                                         Kornode J. Cook
                                        3870 Trotters Run
                                      Douglasville GA 30135

                     (Plus to all creditors on attached Creditor Mailing Matrix)

       This the 6th day of October, 2020.

                                                      /s/
                                                    Janel O. Bowles
                                                    GA Bar No. 071880
                                                    Attorney for the Debtor

BERRY & ASSOCIATES
2751 Buford Highway, Suite 600
Atlanta, GA 30324
(404) 235-3300
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Label Matrix for local noticing                     AT&T Document
                                                         CORP               Page 6 of 7             Aes/goalfinc
113E-1                                              by American InfoSource as agent                 Attn: Bankruptcy
Case 19-63224-lrc                                   4515 N Santa Fe Ave                             PO Box 2461
Northern District of Georgia                        Oklahoma City, OK 73118-7901                    Harrisburg, PA 17105-2461
Atlanta
Tue Oct 6 11:59:35 EDT 2020
Aspire/Emerge                                       Matthew Thomas Berry                            Capital One Auto Finance
Attn: Bankruptcy                                    Matthew T. Berry & Associates                   Attn: Bankruptcy
PO Box 105555                                       Suite 600                                       PO Box 30285
Atlanta, GA 30348-5555                              2751 Buford Highway, NE                         Salt Lake City, UT 84130-0285
                                                    Atlanta, GA 30324-5457

Capital One Auto Finance, a division of Capi        Chapel Hill Community Association               Collectron Of Atlanta/Carter-Young
4515 N Santa Fe Ave. Dept. APS                      8601 Baldwin Parkway                            Attention: Bankruptcy
Oklahoma City, OK 73118-7901                        Douglasville, GA 30134-5625                     PO Box 92269
                                                                                                    Atlanta, GA 30314-0269


Conduent/PCR Pers Comp Rent                         Kornode Jean Cook                               Credit Collection Services
Attn: Claims Department                             3870 Trotters Run                               Attn: Bankruptcy
PO Box 7051                                         Douglasville, GA 30135-7602                     725 Canton St
Utica, NY 13504-7051                                                                                Norwood, MA 02062-2679


Melissa J. Davey                                    First PREMIER Bank                              (p)GEORGIA DEPARTMENT OF REVENUE
Melissa J. Davey, Standing Ch 13 Trustee            Attn: Bankruptcy                                COMPLIANCE DIVISION
Suite 200                                           PO Box 5524                                     ARCS BANKRUPTCY
260 Peachtree Street, NW                            Sioux Falls, SD 57117-5524                      1800 CENTURY BLVD NE SUITE 9100
Atlanta, GA 30303-1236                                                                              ATLANTA GA 30345-3202

Jefferson Capital Systems, LLC                      Nelnet                                          Nelnet on behalf of Ascendium Education Solu
PO Box 1999                                         Attn: Bankruptcy Claims                         Ascendium Education Solutions
Saint Cloud, MN 56302                               PO Box 82505                                    PO BOX 8961
                                                    Lincoln, NE 68501-2505                          MADISON, WI 53708-8961


NetCollections, LLC                                 Carrie L Oxendine                               PDQ Services Inc
Attn: Bankruptcy                                    Matthew T. Berry & Associates                   Attn: Bankruptcy Department
2774 N Cobb Pkwy, Ste 109 #181                      Suite 600                                       700 Churchill Ct. Suite 200
Kennesaw, GA 30152-3497                             2751 Buford Highway NE                          Woodstock, GA 30188-6841
                                                    Atlanta, GA 30324-5457

Philip L. Rubin                                     Santander Consumer USA                          Santander Consumer USA Inc.
Lefkoff, Rubin. Gleason & Russo                     Attn: Bankruptcy                                P.O. Box 961245
Suite 900                                           10-64-38-FD7 601 Penn St                        Fort Worth, TX 76161-0244
5555 Glenridge Connector                            Reading, PA 19601-3544
Atlanta, GA 30342-4762

Selene Finance                                      Selene Finance LP                               Synchrony Bank/PayPal Cr
9990 Richmond Ave.                                  PO Box 71243                                    Attn: Bankruptcy Dept
Suite 400 South                                     Philadelphia, PA 19176-6243                     PO Box 965060
Houston, TX 77042-4546                                                                              Orlando, FL 32896-5060


Kelly D. Thomas                                     U.S. Bank National Association                  Victor B. Cook Jr.
Matthew T. Berry and Associates                     Selene Finance, LP                              3870 Trotters Run
Suite 600                                           9990 Richmond Ave., Suite 400 South             Douglasville, GA 30135-7602
2751 Buford Highway NE                              Houston, TX 77042-4546
Atlanta, GA 30324-5457
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C. Brent Wardrop                                     WellsDocument
                                                           Fargo Dealer Services
                                                                             Page 7 of 7
Quintairos Prieto Wood & Boyer, P.A.                 Attn: Bankruptcy
10902 Crabapple Road                                 PO Box 19657
Roswell, GA 30075-3090                               Irvine, CA 92623-9657




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue
Bankruptcy Unit
1800 Century Blvd, NE, Ste 9100
Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Capital One Auto Finance, a division of Ca        (u)U.S. Bank National Association                    End of Label Matrix
4515 N Santa Fe Ave. Dept. APS                                                                            Mailable recipients   31
Oklahoma City, OK 73118-7901                                                                              Bypassed recipients    2
                                                                                                          Total                 33
